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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

United States of America CASE NUMBER
PLAINTIFE(S) 8:24-cr-00054 JWH
V.
Ippei Mizuhara ORDER RE TRANSFER
(Related Criminal Cases)
DEFENDANT(S).
CONSENT

I hereby consent to the transfer of the above-entitled case to my calendar, pursuant to this Court's General
Order in the Matter of Assignment of Cases and Duties to District Judges.

May 9, 2024 Dolly M. coe ply In , Kas

Date Chief United States Wistrict Judge

DECLINATION

I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth below:

Date United States District Judge

REASON FOR TRANSFER AS INDICATED BY COUNSEL

Case 2:21-cr-00571 DMG and the present case:

A. Arise out of the same conspiracy, common scheme, transaction, series of transactions or events; or
[_] B. Involve one or more defendants in common, and would entail substantial duplication of labor in pretrial,

trial or sentencing proceedings if heard by different judges.

Notice to Counsel from Clerk

On all documents subsequently filed in this case, please substitute the initials DMG after the case

number in place of the initials of the prior judge, so that the case number will read 8:24-cr-00054 DMG

This is very important because documents are routed to the assigned judge by means of these initials.

ce: [_] PSALA [_] PSAED [_] USMLA [_] USMSA [_] USMED _ [_]| Previous Judge [_] Statistics Clerk

CR-59 (06/23) ORDER RE TRANSFER (Related Criminal Cases)
